Case: 1:22-cv-00125 Document #: 834 Filed: 04/03/25 Page 1 of 2 PageID #:28610

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Sia Henry, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:22−cv−00125
                                                    Honorable Matthew F. Kennelly
Brown University, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 3, 2025:


        MINUTE entry before the Honorable Matthew F. Kennelly: The Court has
reviewed the parties' proposals regarding the Daubert hearing on the motion to exclude
opinions of plaintiffs' expert Dr. Singer. The purpose of the hearing is to determine
whether, and the extent to which, Dr. Singer's challenged opinions meet the requirements
of Daubert and Federal Rule of Evidence 702 and are therefore admissible. The hearing is
not the equivalent of a trial on the merits or a mini−trial regarding the degree of
persuasiveness of Dr. Singer's challenged opinions vis−a−vis the opinions of the
defendants' experts. In addition, the parties should assume that the Court has read and
studied the pertinent written materials that have been submitted, which of course include
the defendants' examination of Dr. Singer during his deposition and their rebuttal experts'
reports and related materials. The hearing will begin promptly at 12:45 PM on 4/11/2025
as previously ordered and will continue to approximately 4:45−5:00 PM. (a) Because
plaintiffs bear the burden of establishing admissibility, they will go first and last in
questioning Dr. Singer, and they will have the opportunity to recall Dr. Singer briefly after
defendants' rebuttal expert testifies. (b) Each side is allocated 50 minutes of time for Dr.
Singer's opening examination. Plaintiffs may divide their time as they wish between direct
and redirect examination. (c) If defendants wish to call a rebuttal expert, they will go first
and last in questioning that expert. Each side is allocated 25 minutes of time with the
defendants' rebuttal expert. Defendants may divide this time as they wish between direct
and redirect examination. (d) If plaintiffs wish to recall Dr. Singer for further testimony
after the defendants' rebuttal expert has testified, the Court will allocate 10 minutes per
side for that. (e) Each side is allocated no more than 15 minutes for argument at the
conclusion of the testimony. (f) The Court reserves the right to reduce these time limits
either collectively or individually before or during the hearing. (mk)




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Case: 1:22-cv-00125 Document #: 834 Filed: 04/03/25 Page 2 of 2 PageID #:28611

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